Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 1 of 9
                             Pageid#: 351
Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 2 of 9
                             Pageid#: 352
Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 3 of 9
                             Pageid#: 353
Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 4 of 9
                             Pageid#: 354
Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 5 of 9
                             Pageid#: 355
Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 6 of 9
                             Pageid#: 356
Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 7 of 9
                             Pageid#: 357
Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 8 of 9
                             Pageid#: 358
Case 5:08-cr-00039-GEC-BWC   Document 163   Filed 05/12/09   Page 9 of 9
                             Pageid#: 359
